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                              UNITED STATES DISTRICT COURT
                              SOUTHERN DISTRICT OF FLORIDA

  Shattuck Bancshares, Inc., and SNB Bank, N.A.,          Case No.: 1:24-cv-24782-RAR

                                 Plaintiffs,

           vs.

  Eric Hannelius, Michael Shvartsman, Oksana
  Moore, Karla Knight, Elena Popova, Justin
  Soulen, Bill My Bnk, LLC, BT Assets Group,
  Inc., EFT Business Services, LLC, EnComPay,
  Inc., Hannelius-Knight Family Trust, MG Family
  Trust, OST, LLC, Pepper Pay, LLC, Rocket
  Holdings, LLC, Salt Money, Inc., Skylight
  Business Services, LLC, Transact First, Inc., and
  Transaction Processing Services, Inc.,

                                 Defendants.

                                     JOINT STATUS UPDATE

           Pursuant to the Court’s May 13, 2025 Order (ECF No. 109), Plaintiffs Shattuck

  Bancshares, Inc. and SNB Bank, N.A. (“Plaintiffs” or “SNB”) and Defendants Eric Hannelius,

  Michael Shvartsman, Oksana Moore, Karla Knight, Elena Popova, Justin Soulen, Bill My Bnk,

  LLC, BT Assets Group, Inc., EFT Business Services, LLC, EnComPay, Inc., Hannelius-Knight

  Family Trust, MG Family Trust, OST, LLC, Pepper Pay, LLC, Rocket Holdings, LLC, Salt

  Money, Inc., Skylight Business Services, LLC, Transact First, Inc., and Transaction Processing

  Services, Inc. (“Defendants” and together with Plaintiffs, the “Parties”), jointly submit the

  following status update:

           1.     The parties inform the Court that as a result of the mediation that took place on

  May 7, 2025, the Parties have reached a settlement in the case and entered into a Binding Term

  Sheet.
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         2.      The Parties are in the process of drafting a Settlement Agreement, which they

  expect to complete promptly.

         3.      As per the Parties’ agreement, we expect all payments under the Settlement

  Agreement to be fully concluded by no later than July 7, 2025.

         4.      If that occurs, the Parties expect to file a Joint Motion for Entry of Agreed Order

  for Dismissal With Prejudice as to All Defendants no later than July 17, 2025.




  Dated: May 14, 2025.                                  Respectfully submitted,

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                                   CERTIFICATE OF SERVICE

         I HEREBY CERTIFY that on May 14, 2025, I electronically filed a true and correct copy

  of the foregoing document with the Clerk of the Court by using the CM/ECF system, which will

  send notice of electronic filing to all parties at the email addresses on file with the Clerk of Court.


                                                         /s/ Eliot Pedrosa
                                                         Eliot Pedrosa
                                                         Attorney for Plaintiffs




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